   Case: 1:96-cr-00815 Document #: 948 Filed: 10/07/21 Page 1 of 2 PageID #:1360




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA                       )
                                                )
                      v.                        )   No. 96 CR 815-1
                                                )
 EDWARD LEE JACKSON, JR.,                       )   Judge Tharp Jr.
                                                )
                              Defendant.        )

                             RELEASE OF JUDGMENT LIEN

       The court entered judgment in favor of the United States of America and against defendant

Edward Lee Jackson, Jr.. The judgment for $25,000.00 has been vacated. The lien recorded at

the Cook County Recorder’s Office as document number 0020023882 on January 07, 2002 is

hereby released.

                                            Respectfully submitted,

                                            JOHN R. LAUSCH, Jr.
                                            United States Attorney

                                            By: s/ Linda A. Wawzenski
                                               LINDA A. WAWZENSKI
                                               Assistant United States Attorney
                                               219 South Dearborn Street
                                               Chicago, Illinois 60604
                                               312-353-1994
                                               linda.wawzenski@usdoj.gov
   Case: 1:96-cr-00815 Document #: 948 Filed: 10/07/21 Page 2 of 2 PageID #:1361




                                      Certificate of Service

       The undersigned Assistant United States Attorney hereby certifies that in accordance with

Fed. R. Civ. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF), the following

document:

                                  RELEASE OF JUDGMENT LIEN

was served pursuant to the district court’s ECF system as to ECF filers, if any, and will be mailed

within five business days of this release being filed, to the following non-ECF filers:


Edward Lee Jackson, Jr.
FCI Cumberland (BOP# 07546-424)
P.O. Box 1000
Cumberland, Maryland 21501




                                              By: s/ Linda A. Wawzenski
                                                 LINDA A. WAWZENSKI
                                                 Assistant United States Attorney
                                                 219 South Dearborn Street
                                                 Chicago, Illinois 60604
                                                 312-353-1994
                                                 linda.wawzenski@usdoj.gov
